     Case 5:11-cr-00023-MW-GRJ     Document 692     Filed 07/07/17   Page 1 of 1




          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      PANAMA CITY DIVISION


UNITED STATES OF AMERICA,

v.                                          Case No. 5:11cr23-MW/GRJ-4

JACK ALLEN KELLY,

          Defendant.
___________________________/

                    ORDER ACCEPTING AND ADOPTING
                     REPORT AND RECOMMENDATION

       This Court has considered, without hearing, the Magistrate Judge's Report

and Recommendation. ECF No. 689. Upon consideration, no objections having

been filed by the parties,

       IT IS ORDERED:

       The report and recommendation is accepted and adopted as this Court’s

opinion. The Clerk shall enter judgment stating, “Defendant’s Motion Under 28

U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody, ECF No. 560, is DENIED. A certificate of appealability is DENIED.”

The Clerk shall close the file.

       SO ORDERED on July 7, 2017.

                                      s/Mark E. Walker
                                      United States District Judge
